                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


IN THE MATTER OF THE COMPLAINT                                CIVIL ACTION NO.
OF RODI MARINE, LLC, AS
OWNER AND OPERATOR                            *               SECTION: “      “
OF THE M/V WILDCAT
PETITIONING FOR EXONERATION                   *               JUDGE:
FROM OR LIMITATION OF LIABILITY
                                              *               MAGISTRATE:


            COMPLAINT FOR EXONERATION FROM OR LIMITATION OF LIABILITY

       The Complaint of Rodi Marine, as owner and operator of the motor vessel M/V

WILDCAT, in a cause of exoneration from and limitation of liability, civil and maritime, under

Rule 9(h) of the Federal Rules of Civil Procedure and Rule F of the Supplemental Rules of

Admiralty and Maritime Claims, alleges upon information and belief as follows:

                                                  1.

       At all times pertinent, Rodi Marine, LLC was a limited liability corporation organized

under and existing by virtue of the laws of the State of Louisiana, and was the owner of the

M/V WILDCAT at all pertinent times.

                                                  2.

       The M/V WILDCAT is an aluminum-hulled vessel, 155 feet in length, official number

981473 operating in, and located in, this judicial district at all pertinent times.

                                                  3.

       Petitioner used due diligence to make the aforementioned vessel seaworthy, and it was

prior to the casualty herein, tight, staunch, and fully and properly manned, equipped and

supplied and in all respects seaworthy and fit for the service in which it was engaged.




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                                                4.

       On or about April 18, 2017, the M/V WILDCAT was located in the navigable waters of

the the Gulf of Mexico, and it was properly manned, equipped, and supplied, when it was

headed toward the Fieldwood Shore Base and it allided with the S.T. 23 sugar platform.

                                                5.

       The M/V WILDCAT was carrying a crew of four, and a complement of seven passengers.

Some of the crewemmbers and passengers are believed to have suffered personal injuries.

                                                6.

       The M/V WILDCAT was not lost or abandoned as a result of the aforementioned

incident, and it remained staunch, tight, strong and it is currently undergoing repairs.

                                                7.

       The incident was not due to any fault, neglect or want of care on the part of petitioner,

or anyone for whom said petitioner may be responsible.

                                                8.

       The incident was occasioned and occurred without the privity or knowledge of

petitioner.

                                                9.

       While denying all liability, petitioner shows that in the event that it should be held liable

to any degree to anyone, petitioners claim the benefit of limitation of liability provided in 46

U.S.C. ss 30501 et seq and in Rule F of the Supplemental Rules of Admiralty and Maritime

Claims of the Federal Rules of Civil Procedure, upon showing that the incident was occasioned

and occurred without the privity or knowledge of petitioner.

                                                10.



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       Petitioner’s interest in the M/V WILDCAT, as shown by the attached Affidavit, did not

and does not exceed the sum of $1,456,000

                                               11.

       Petitioner files herewith letters of undertaking in the total sum of $1,456,000 in

accordance with Rule F(1), and petitioners are also prepared, in respect to security or appraisal,

to act in accordance with the provisions of Rule F(1) and (7), when and if the Court should so

warrant.

       WHEREFORE, petitioner prays:

   1) That the Court issue an injunction to restrain the commencement or prosecution of any

       action or actions against petitioner, its employees, the M/V WILDCAT, and their insurers

       with respect to any claim for which petitioner seeks exoneration from or limitation of

       liability;

   2) That the Court adjudge petitioner and the M/V WILDCAT not liable to any extent

       whatsoever for damage of any kind arising out of the matters aforesaid or, in the

       alternative, should the Court adjudge petitioner and the M/V WILDCAT liable in any

       amount whatsoever, that said liability be limited to and not exceed the amount of

       petitioner’s interest in the M/V WILDCAT;

   3) That a judgment be entered discharging petitioner and the M/V WILDCAT from any and

       all further liability and forever enjoining the filing or prosecution of any claims against

       them as a consequence of the matters aforesaid;

   4) That petitioner have such other and further relief as justice may require and this Court is
      competent to grant.




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                              Respectfully submitted:

                              HARRY MORSE, L.L.C.


                              __/sHarry Morse___
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                      CERTIFICATE OF SERVICE


I hereby certify that a copy of the above and foregoing pleading
has been electronically filed with the Clerk of Court by using the
CM/ECF system which will send a notice of electronic filing to all
          counsel of record, this 31st day of May, 2017.


                    ______/s/Harry Morse______




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